Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 1 of 7




                                           CIV-18-152-SLP
Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 2 of 7
Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 3 of 7
Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 4 of 7
Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 5 of 7
Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 6 of 7
Case 5:18-cv-00152-SLP Document 1 Filed 02/15/18 Page 7 of 7
